      Case 5:19-cv-04286-BLF Document 225 Filed 07/22/22 Page 1 of 5



 1
     Bobbie J. Wilson, Bar No. 148317
 2   BWilson@perkinscoie.com
     Sunita Bali, Bar No. 274108
 3   SBali@perkinscoie.com
 4   PERKINS COIE LLP
     505 Howard Street, Suite 1000
 5   San Francisco, California 94105
     Telephone: +1.415.344.7000
 6   Facsimile: +1.415.344.7050
 7
     Attorneys for Defendants
 8
     ALPHABET INC. and GOOGLE LLC
 9

10
                              UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12

13                                      SAN JOSE DIVISION

14

15

16

17                                                 Case No. 5:19-cv-04286-BLF
     IN RE GOOGLE ASSISTANT PRIVACY
18                                                 GOOGLE LLC AND ALPHABET INC.’S
     LITIGATION
                                                   STATEMENT IN SUPPORT OF
19                                                 PLAINTIFFS’ ADMINISTRATIVE
                                                   MOTION TO CONSIDER WHETHER
20
                                                   DEFENDANTS’ MATERIAL SHOULD
21                                                 BE SEALED

22                                                 Judge:     Hon. Susan van Keulen

23

24

25

26

27

28
                                                                           5:19-CV-04286-BLF
                                            STATEMENT IN SUPPORT OF ADMIN. MOTION TO SEAL
       Case 5:19-cv-04286-BLF Document 225 Filed 07/22/22 Page 2 of 5



                                               STATEMENT
 1

 2          Pursuant to Civil Local Rules 7-11 and 79-5, Defendants Google LLC and Alphabet Inc.
 3 (collectively “Google”) submit this statement in support of Plaintiffs’ Administrative Motion to

 4 Consider Whether Defendants’ Material Should be Sealed (ECF No. 219). Google seeks an order

 5 to file under seal narrowly tailored redactions to certain discrete, sealable portions of the parties’

 6 certain narrow portions of Plaintiffs’ Discovery Letter Brief and Exhibit A thereto (ECF Nos.

 7 219-2 and 219-3, collectively “the Sealed Materials”).

 8          Specifically, Google requests to seal the following:
 9    Document            Text to be Sealed         Basis for Sealing Portion of Document
10    July 15,         Highlighted portions         Confidential and highly sensitive proprietary and
      Discovery Letter on page 1                    commercial information about the operation of
11    Brief (ECF No.                                Google Assistant. (see Declaration of Hailey
12    219-2)                                        Crowel (“Crowel Decl.”), filed concurrently, ¶ 5).

13                        Highlighted portions      Confidential and highly sensitive proprietary and
                          on page 2                 commercial information about (1) the operation of
14                                                  Google Assistant; and (2) details of Google’s
                                                    understanding of the profits or losses associated
15                                                  with Google Assistant. (see Crowel Decl. ¶ 5).
16                        Highlighted portions      Confidential and highly sensitive proprietary and
17                        on page 3                 commercial information about (1) the operation of
                                                    Google Assistant; and (2) details of Google’s
18                                                  understanding of the profits or losses associated
                                                    with Google Assistant. (see Crowel Decl. ¶ 5).
19
                          Highlighted portions      Confidential and highly sensitive proprietary and
20                        on page 4                 commercial information about (1) the operation of
                                                    Google Assistant; and (2) details of Google’s
21                                                  understanding of the profits or losses associated
22                                                  with Google Assistant. (see Crowel Decl. ¶ 5).

23                        Highlighted portions      Confidential and highly sensitive proprietary and
                          on page 5                 commercial information about details of Google’s
24                                                  understanding of the profits or losses associated
                                                    with Google Assistant. (see Crowel Decl. ¶ 5).
25

26

27

28                                                    -1-

                                                                                5:19-CV-04286-BLF
                                                 STATEMENT IN SUPPORT OF ADMIN. MOTION TO SEAL
       Case 5:19-cv-04286-BLF Document 225 Filed 07/22/22 Page 3 of 5



 1    Exhibit A to July Highlighted portions       Confidential and highly sensitive proprietary and
      15, Discovery     of Exhibit A, pages 31,    commercial information about details of the
 2    Letter Brief      32-33, and 35              operation of Google Assistant. (see Crowel Decl. ¶
      (ECF No. 219-3)                              5).
 3

 4                                         LEGAL STANDARD

 5          “Historically, courts have recognized a ‘general right to inspect and copy public records

 6 and documents, including judicial records and documents.’” Kamakana v. City & Cty. Of

 7 Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc'ns, Inc., 435

 8 U.S. 589, 597 & n. 7 (1978)). Accordingly, when considering a sealing request, “a ‘strong

 9 presumption in favor of access’ is the starting point.” Id. (quoting Foltz v. State Farm Mut. Auto.

10 Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). Parties seeking to seal judicial records relating to

11 motions that are “more than tangentially related to the underlying cause of action” bear the

12 burden of overcoming the presumption with “compelling reasons” that outweigh the general

13 history of access and the public policies favoring disclosure. Ctr. for Auto Safety v. Chrysler Grp.,

14 809 F.3d 1092, 1099 (9th Cir. 2016); Kamakana, 447 F.3d at 1178–79.

15          However, “while protecting the public’s interest in access to the courts, [courts] must

16 remain mindful of the parties’ right to access those same courts upon terms which will not unduly

17 harm their competitive interest.” Apple Inc. v. Samsung Elecs. Co., Ltd., 727 F.3d 1214, 1228–29

18 (Fed. Cir. 2013). Records attached to motions that are “not related, or only tangentially related, to

19 the merits of a case” therefore are not subject to the strong presumption of access. Ctr. for Auto

20 Safety, 809 F.3d at 1099; see also Kamakana, 447 F.3d at 1179 (“[T]he public has less of a need

21 for access to court records attached only to non-dispositive motions because those documents are

22 often unrelated, or only tangentially related, to the underlying cause of action.”). Parties moving

23 to seal the documents attached to such motions must meet the lower “good cause” standard of

24 Rule 26(c). Kamakana, 447 F.3d at 1179 (internal quotations and citations omitted).

25                                             ARGUMENT

26          Good cause exists for sealing the Sealed Materials.

27

28                                                   -2-

                                                                               5:19-CV-04286-BLF
                                                STATEMENT IN SUPPORT OF ADMIN. MOTION TO SEAL
       Case 5:19-cv-04286-BLF Document 225 Filed 07/22/22 Page 4 of 5



 1          First, information about the operation of Google Assistant is sealable because it is

 2 “confidential information regarding [Google’s] research and development of its business.”

 3 Newmark Realty Cap., Inc. v. BGC Partners, Inc., 2018 WL 10701610, at *3 (N.D. Cal. Apr. 11,

 4 2018) (Freeman, J.); see also, e.g., Space Data, 2018 WL 10455199, at *2 (Freeman, J.) (sealing

 5 “technical, business planning and financial information, disclosure of which could cause

 6 economic harm to Space Data and provide an unfair advantage to competitors”); Crowel Decl.

 7 ¶ 5.

 8          Second, Google’s understanding of the profits or losses associated with Google Assistant

 9 is sealable because it is “sensitive, confidential financial information, the disclosure of which

10 would cause competitive and business harm to [Google] because a competitor might use it to, for

11 example, gain insight into [Google’s] margins, commercial strategies, and internal operating

12 procedures.” City of Birmingham Relief & Ret. Sys. v. Hastings, 2019 WL 3815720, at *1 (N.D.

13 Cal. Mar. 4, 2019), redacted opinion issued, 2019 WL 3815722 (N.D. Cal. Feb. 13, 2019)

14 (Freeman, J.); see also, e.g., Space Data 2018 WL 10455199, at *2 (N.D. Cal. Feb. 27, 2018);

15 Crowel Decl. ¶ 5.

16          Third, the Sealed Materials are sealable because they are presented without context and in

17 many cases selected by Plaintiffs to present an incomplete and misleading picture of Google

18 business practices related to Google Assistant and the operation of Google Assistant.

19 “[D]isclosure of this information without context could cause harm to Google by providing an

20 incomplete and misleading picture of Google’s practices and capabilities.” Adtrader, Inc. v.

21 Google LLC, No. 17-CV-07082-BLF, 2020 WL 6389186, at *2 (N.D. Cal. Feb. 24, 2020)

22 (Freeman, J.) (sealing information on this basis).

23          For the reasons identified above, there is good cause for the Sealed Materials to be sealed.

24

25

26

27

28                                                   -3-

                                                                               5:19-CV-04286-BLF
                                                STATEMENT IN SUPPORT OF ADMIN. MOTION TO SEAL
       Case 5:19-cv-04286-BLF Document 225 Filed 07/22/22 Page 5 of 5



 1
     Dated: July 22, 2022                   Perkins Coie LLP
 2

 3                                          By: Sunita Bali
                                              Bobbie J. Wilson, Bar No. 148317
 4                                            Sunita Bali, Bar No. 274108

 5

 6

 7

 8
                                            Attorneys for Defendants Alphabet Inc. and
 9                                          Google LLC
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                        -4-

                                                                     5:19-CV-04286-BLF
                                      STATEMENT IN SUPPORT OF ADMIN. MOTION TO SEAL
